UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in compliance with D.N.J. LBR 9004-1(b)

Sadek and Cooper Law Offices
1315 Walnut Street, Suite 502
Philadelphia, PA 19107




In Re:
                                                              Case No.:            19-19686
                                                                              __________________

Joshua Cottman                                                               2/11/20 @ 10 AM
                                                              Hearing Date: __________________

                                                              Judge:               Altenberg
                                                                              __________________




                        NOTICE OF CHAPTER 13 PLAN TRANSMITTAL

           The enclosed ☐ plan, ☐ modified plan is proposed by the debtor and was filed on
        the Trustee and creditors
   _____________________________.        It has been served on you because the plan contains motions
   that may adversely affect your interest.


   Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. This
   Plan may be confirmed and become binding, and included motions may be granted without further
   notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court
   may confirm this plan, if there are no timely filed objections, without further notice. See Bankruptcy
   Rule 3015. This plan includes motions to avoid or modify a lien, the lien avoidance or modification
   may take place solely within the chapter 13 confirmation process. The plan confirmation order alone
   will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to
   avoid or modify a lien based on value of the collateral or to reduce the interest rate. An affected lien
   creditor who wishes to contest said treatment must file a timely objection and appear at the
   confirmation hearing to prosecute same.


   ☐ Real Property:
           The debtor(s) has valued real property located at ___________________________________
   _____________________________________________ [address] at $_____________________. The
   debtor(s) believes the first lien on the property to be in the approximate amount of $________________
[insert other liens as appropriate]. As such, the debtor(s) believes there is inadequate equity available to
satisfy your lien and seeks through the plan to reduce, modify or eliminate your lien.

        The debtor’s valuation of the property is based on: (a) comparative market analysis; (b) broker
price opinion; (c) appraisal; or (d) other: ______________________________________, a copy of
which is attached. All forms of relief sought by motion appear in Part 7 of the plan.

☐ Personal Property:
        The debtor(s) has valued personal property described as: __________________________________
_________________________________________________________ at $_________________________.
The debtor(s) believes the lien on the property to be in the approximate amount of $__________________
[insert other liens as appropriate]. As such, the debtor(s) believes there is inadequate equity available to
satisfy your lien and seeks through the plan to reduce, modify or eliminate your lien.

        The debtor’s valuation of the property is based on: (a) broker price opinion; (b) appraisal; or (c)
other: ________________________________________, a copy of which is attached. All forms of relief
sought by motion appear in Part 7 of the plan.

        The Confirmation Hearing is scheduled for ________________________________________.
Objections to any relief sought in the plan, including relief sought by motion, must be filed with the
Clerk of the Bankruptcy Court no later than 7 days prior to the confirmation hearing.


        YOU SHOULD CONSULT WITH AN ATTORNEY PROMPTLY, SINCE ENTRY OF
AN ORDER OF CONFIRMATION WILL BIND YOU TO ALL OF THE TERMS OF THE
CONFIRMED PLAN.




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